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 8              UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
 9                                            FRESNO DIVISION
10   UNITED STATES OF AMERICA,                       )        CASE NUMBER: 1:06-CR-00365-LJO
                                                     )
11                  Plaintiff,                       )
                                                     )         ORDER FOR TRAVEL
12   v.                                              )
                                                     )
13                                                   )
                                                     )
14   ABDEK BASET JAWAD,                              )
                                                     )
15                  Defendant.                       )
                                                     )
16                                                   )
17          Proceedings having been held on February 24, 2009 before District Judge Lawrence J. O’Neill
18   re: Appeal of Bail Review as to Abdel Baset Jawad, the Court adopts and incorporates by reference
19   each and every condition set by Magistrate Judge Sandra M. Snyder at the hearing on this matter that
20   took place on February 23, 2009, and grants the request of Defendant to travel out of the Country
21   accept that the trip will be for a maximum of 10 days and it will only occur if the following conditions
22   are met:
23          First, that Salvatore Sciandra, attorney for Abdel Baset Jawad, provide the United States
24   government through Assistant United States Attorney Stanley Boone, with a declaration from an
25   appropriate ranking official from the Palestinian Authority outlining the process whereby Palestinian
26   Authority will provide attorney Salvatore Sciandra with notice if Abdel Baset Jawad, also known as
27   Fred Jawad, also known as Abdalbaset M.A. Sarama (ID Number 901408047), applies for, or obtains
28   a new or replacement or lost Palestinian Authority passport. The declaration must also contain and
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 1   address how a passport is obtained whether it is new, lost or replaced passport and the record-keeping
 2   of such matters so that this court is confident in the integrity and thoroughness of the Palestinian
 3   Authority process and records. The declaration must also include the process by which the Palestinian
 4   Authority verifies that a person applying for a new or replaced or lost passport has not obtained a
 5   previous passport under a different name. This declaration must also include a statement that this
 6   process is the same for the entire Palestinian Authority and that the process and verification is not
 7   different whether it is obtained in Gaza, West Bank or in a foreign country, such as Saudi Arabia,
 8   Jordan or the United Arab Emirates, and elsewhere. The declaration must also include a statement that
 9   the Palestinian Authority will provide such information as required by this order to attorney Salvatore
10   Sciandra within fourteen (14) days of his request.
11            Second, attorney Salvatore Sciandra is further ordered to immediately provide to the United
12   States government any such notice that Abdel Baset Jawad, Fred Jawad, Abdalbaset M.A. Sarama or
13   any other name used by him attempted to apply for or obtain a new or replacement Palestinian
14   Authority passport.
15
16   DATED: March 30, 2009                                        /s/ Salvatore Sciandra
                                                                  SALVATORE SCIANDRA
17                                                                Attorney for Defendant,
                                                                  ABDEL BASET JAWAD
18
19   DATED: March 30, 2009                                        /s/ Stanley Boone
                                                                  STANLEY BOONE
20                                                                Assistant United States Attorney
21                                                                The above has been agreed to by
                                                                  Mr. Sciandra and Mr. Boone
22
23                                                  ORDER
24   IT IS SO ORDERED.
25   Dated:      March 31, 2009                       /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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